      CASE 0:08-cr-00142-DSD-SRN            Doc. 649     Filed 11/25/08     Page 1 of 1



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                          Crim. No. 08-142 (DSD/SRN)

              Plaintiff,

       v.                                          ORDER

David Eugene Osborne (05),

              Defendant.


Nancy Brasel and Anders Folk, United States Attorney’s Office, 300 South Fourth Street, Suite
600, Minneapolis, Minnesota 55415, for Plaintiff United States of America

Gary R. Bryant Wolf, Bryant Wolf Law Office, 247 Third Avenue South, Minneapolis,
Minnesota 55415, for Defendant David Eugene Osborne
______________________________________________________________________________

       The above-entitled matter comes before the Court on the Report and Recommendation of

United States Magistrate Judge Susan Richard Nelson. No objections were filed to that Report

and Recommendation in the time period permitted. Accordingly, based on all of the files,

records, and proceedings herein, IT IS HEREBY ORDERED that:

       1.     Defendant David Eugene Osborne’s Motion to Suppress Evidence (Doc. No. 545)

              is DENIED; and

       2.     Defendant David Eugene Osborne’s Motion to Dismiss Indictment for Failure to

              State an Offense (Doc. No. 546) is DENIED.


Dated: November 25, 2008
                                                   s/David S. Doty
                                                   DAVID S. DOTY
                                                   United States District Judge
